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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Stephen A. Broome (CA Bar No. 314605) Andrew H. Schapiro (admitted pro hac vice)
 2 stephenbroome@quinnemanuel.com         andrewschapiro@quinnemanuel.com
                                          Teuta Fani (admitted pro hac vice)
 3 Viola Trebicka (CA Bar No. 269526)
    violatrebicka@quinnemanuel.com        teutafani@quinnemanuel.com
 4 Crystal Nix-Hines (Bar No. 326971)     Joseph H. Margolies (admitted pro hac vice)
    crystalnixhines@quinnemanuel.com      josephmargolies@quinnemanuel.com
 5 Rachael L. McCracken (Bar No. 252660   191 N. Wacker Drive, Suite 2700
    rachaelmccracken@quinneamanuel.com    Chicago, IL 60606
 6                                        Telephone: (312) 705-7400
    Alyssa G. Olson (CA Bar No. 305705)
                                          Facsimile: (312) 705-7401
 7 alyolson@quinnemanuel.com
    865 S. Figueroa Street, 10th Floor
 8 Los Angeles, CA 90017
    Telephone: (213) 443-3000
 9 Facsimile: (213) 443-3100

10   Jomaire Crawford (admitted pro hac vice)     Xi (“Tracy”) Gao (CA Bar No. 326266)
11   jomairecrawford@quinnemanuel.com             tracygao@quinnemanuel.com
     D. Seth Fortenbery (admitted pro hac vice)   Carl Spilly (admitted pro hac vice)
12   sethfortenbery@quinnemanuel.com              carlspilly@quinnemanuel.com
     51 Madison Avenue, 22nd Floor                1300 I Street NW, Suite 900
13   New York, NY 10010                           Washington D.C., 20005
     Telephone: (212) 849-7000                    Telephone: (202) 538-8000
14   Facsimile: (212) 849-7100                    Facsimile: (202) 538-8100
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16 Counsel for Defendant Google LLC

17                         UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
     CHASOM BROWN, et al., individually and         Case No. 4:20-cv-03664-YGR-SVK
19   on behalf of themselves and all others
     similarly situated,                            DECLARATION OF JOSEPH H.
20
                                                    MARGOLIES IN SUPPORT OF
                    Plaintiffs,                     PLAINTIFFS’ ADMINISTRATIVE
21
            v.                                      MOTION TO CONSIDER WHETHER
22                                                  GOOGLE’S MATERIAL SHOULD BE
     GOOGLE LLC,                                    SEALED (DKT. 991)
23
                    Defendant.                      Judge: Hon. Yvonne Gonzalez Rogers
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                                                                Case No. 4:20-cv-03664-YGR-SVK
                                  MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1         I, Joseph H. Margolies, declare as follows:
 2         1.      I am an attorney with Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for
 3 Defendant Google LLC (“Google”) in this action. I am making this declaration pursuant to Civil

 4 Local Rule 79-5(e)–(f) as an attorney for Google as the Designating Party, pursuant to Civil Local

 5 Rule 79-5(f)(3) in response to Dkt. 991.

 6         2.      On September 5, 2023, Plaintiffs filed their Administrative Motion to Consider
 7 Whether Google’s Material Should be Sealed regarding Plaintiffs’ Notice of Motion and Motion to

 8 Exclude Certain Google Employee Witnesses (Dkt. 992) (“Motion”). On September 8, 2023, I

 9 received unredacted service copies of the document sought to be sealed.

10         3.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
11 Local Rule 79-5(f). Based on my review, there are compelling reasons (and, by extension, good

12 cause) to seal the following:

13       Document(s) to be Sealed                             Basis for Sealing
     Plaintiffs’ Notice of Motion and   The information requested to be sealed contains Google’s
14   Motion to Exclude Certain Google highly confidential and proprietary information regarding
15   Employee Witnesses                 highly sensitive features of Google’s internal systems and
                                        operations, including Google’s internal detection bits, that
16   Page 7:2                           Google maintains as confidential in the ordinary course of
                                        its business and is not generally known to the public or
17   Google joins Plaintiffs’ motion to Google’s competitors. Such confidential and proprietary
     seal in PART with respect to this  information reveals Google’s internal strategies, system
18   document.                          designs, and business practices for operating and
19                                      maintaining many of its important services, and falls
                                        within the protected scope of the Protective Order entered
20                                      in this action. See Dkt. 81 at 2–3. Public disclosure of such
                                        confidential and proprietary information could affect
21                                      Google’s competitive standing as competitors may alter
                                        their systems and practices relating to competing products.
22
                                        It may also place Google at an increased risk of
23                                      cybersecurity threats, as third parties may seek to use the
                                        information to compromise Google’s internal practices
24                                      relating to competing products.
     Exhibit 1 to Frawley Declaration – The information requested to be sealed contains Google’s
25   Combined Witness List              highly confidential and proprietary information regarding
                                        highly sensitive features of Google’s internal systems and
26
     Pages 14:16                        operations, including Google’s internal metrics, that
27                                      Google maintains as confidential in the ordinary course of
                                        its business and is not generally known to the public or
28                                      Google’s competitors. Such confidential and proprietary

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 1   Google joins Plaintiffs’ motion to information reveals Google’s internal strategies, system
     seal in PART with respect to this  designs, and business practices for operating and
 2   document.                          maintaining many of its important services, and falls
                                        within the protected scope of the Protective Order entered
 3
                                        in this action. See Dkt. 81 at 2–3. Public disclosure of such
 4                                      confidential and proprietary information could affect
                                        Google’s competitive standing as competitors may alter
 5                                      their systems and practices relating to competing products.
                                        It may also place Google at an increased risk of
 6                                      cybersecurity threats, as third parties may seek to use the
 7                                      information to compromise Google’s internal practices
                                        relating to competing products.
 8   Exhibit 9 to Frawley Declaration – The information requested to be sealed contains Google’s
     Combined Witness List              highly confidential and proprietary information regarding
 9                                      highly sensitive features of Google’s internal systems and
     Pages 14:16                        operations, including Google’s internal metrics, that
10                                      Google maintains as confidential in the ordinary course of
11   Google joins Plaintiffs’ motion to its business and is not generally known to the public or
     seal in PART with respect to this  Google’s competitors. Such confidential and proprietary
12   document.                          information reveals Google’s internal strategies, system
                                        designs, and business practices for operating and
13                                      maintaining many of its important services, and falls
                                        within the protected scope of the Protective Order entered
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                                        in this action. See Dkt. 81 at 2–3. Public disclosure of such
15                                      confidential and proprietary information could affect
                                        Google’s competitive standing as competitors may alter
16                                      their systems and practices relating to competing products.
                                        It may also place Google at an increased risk of
17                                      cybersecurity threats, as third parties may seek to use the
                                        information to compromise Google’s internal practices
18
                                        relating to competing products.
19

20          4.     Google’s request is narrowly tailored in order to protect its confidential information.

21 These redactions are limited in scope and volume. Because the proposed redactions are narrowly

22 tailored and limited to portions containing Google’s highly confidential or confidential information,

23 Google requests that the portions of the aforementioned documents be redacted from any public

24 version of those documents.

25          5.     Google does not seek to redact or file under seal any portions of Plaintiffs’ Motion

26 not indicated in the table above.

27          I declare under penalty of perjury of the laws of the United States that the foregoing is true

28 and correct. Executed in Bayside, Wisconsin on September 14, 2023.

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                                      By        /s/ Joseph H. Margolies
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                                         Joseph H. Margolies
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                            MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
